                Case: 21-70008               Document: 145               Page: 1          Date Filed: 05/26/2023

                                ORAL ARGUMENT ACKNOWLEDGMENT FORM
       U.S. COURT OF APPEALS FOR THE FIFTH CIRCUIT, 600 S. Maestri Place, New Orleans, LA 70130
                                         (504) 310-7700



I, Natalie D. Thompson (Substituting for Judd E. Stone II)
                                                              (Full Name)

   as DUJXLQJ counsel, acknowledge receiving notice that the below case has been scheduled for
   oralargument with the 8QLWHG6WDWHV&RXrt of AppealsIRUWKH)LIWK&LUFXLW


   21-70008                      Mullis                                            v. Lumpkin
      (Case Number)                                                           (Short Title)

   is scheduled for oral argument at                11:00 am       on                June 6, 2023                    located in the
                                                     (Time)                                   (Date)

   NEW ORLEANS - U.S. Court of Appeals for the Fifth Circuit, 600 Camp Street, New Orleans, LA, 70130
                                                               (Location)



   /s/ Natalie D. Thompson                                                                                  May 26, 2023
                                      (Signature)                                                                (Date)



                     List all parties being represented for argument and select the party type
   Bobby Lumpkin, Director, Texas Department of Criminal Justice, Correctional Institutions Division




                            ■

    Appellant          Appellee            Cross Appellant                  Cross Appellee              Amicus            Intervenor
       According to this court's rules, a cross or separate appeal will be argued with the initial appeal during the same argument,
       unless the court directs otherwise. If a case involves a cross appeal, the party who first files a notice of appeal is
       considered the appellant unless the parties otherwise agree or the court directs otherwise. If separate appellants support
       the same argument, they are to avoid duplication of argument.
      THE ORDER OF PRESENTATION & DIVISION OF ORAL ARGUMENT TIME WILL BE AS FOLLOWS:
                                (Counsel Name)                                (Time in Minutes)            (Rebuttal Time)*
       #1   Natalie D. Thompson                                                      30
       #2
       #3
       #4
       #5

        6(66,21

                  *Rebuttal time for appellants only. The court prefers no more than 5 minutes for rebuttal.



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